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                                       UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                              TAMPA DIVISION

 MICHAEL KEEVER, individually, and as                                 )
 the class representative of others similarly                         )
 situated,                                                            )
                                                                      )
                      Plaintiff,                                      )
                                                                      )
 v.                                                                   )       Case No. 8:20-cv-00050-SCB-JSS
                                                                      )
 BELLE VISTA BLUFFS, INC., a Florida                                  )
 Registered Corporation, and BEVERLY C.                               )
 MACKIN, individually,                                                )
                                                                      )
                      Defendants.                                     )

               SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS

         This Settlement Agreement and Release of Claims (the “Agreement”) is entered into by

and between MICHAEL KEEVER (“Plaintiff”) and BELLE VISTA BLUFFS, INC. and

BEVERLY C. MACKIN (“Defendants”), collectively (the “Parties”).

         WHEREAS, Plaintiff was an employee of the Defendants;

         WHEREAS, Plaintiff filed a civil action against Defendants in the United States District

Court, Middle District of Florida, Tampa Division, seeking redress for alleged violations under the

provisions of section 216(b) of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 206, § 207,

and § 215(a), Case Number 8:20-cv-00050-SCB-JSS; and

         WHEREAS, Defendants deny all allegations in the Lawsuit and any liability and/or any

other wrongdoing in respect to Plaintiff;

         WHEREAS, Plaintiff and Defendants wish to avoid litigation and settle and resolve the

controversy between them amicably and expeditiously;



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         NOW, THEREFORE, in consideration of the mutual covenants set forth herein and other

good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,

it is hereby

         STIPULATED AND AGREED by and between the undersigned parties that the above-

entitled matter is resolved as follows:

    1. RECITALS: The foregoing recitals are true and correct and are incorporated below as if

fully set forth therein.

    2. RELEASE OF FLSA AND WAGE CLAIMS:

               a. This agreement shall constitute a release of all claims Plaintiff might have under

                    the FLSA against Defendants.

               b. Upon execution of this Agreement, the parties shall immediately file a Joint Motion

                    for Approval of Settlement and Dismissal of this case, with prejudice.

               c. In exchange for the consideration set forth in Paragraph 3 below, Plaintiff, for

                    himself and his attorneys, heirs, executors, administrators, successors and assigns,

                    hereby waives and releases, knowingly and willingly, Defendants, Belle Vista

                    Bluffs, Inc. and Beverly C. Mackin, their heirs, executors, administrators, legal

                    representatives, parent corporations, sibling corporations, predecessor companies,

                    insurers, attorneys, past, present and future divisions, subsidiaries, affiliates and

                    related companies and their successors and assigns, and all past, present and future

                    directors, officers, employees and agents of these entities, personally and as

                    directors, officers, employees, and agents (the “Released Parties”), from any and

                    all wage claims of any nature whatsoever Plaintiff has arising out of or related to

                    the payment of wages during this employment with Defendants, known or


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                     unknown, including, but not limited to, any claims Plaintiff may have under the

                     Fair Labor Standards Act (“FLSA”), the Florida minimum wage statute, and any

                     and all other applicable state, federal, county, or local ordinances, statutes or

                     regulations, including claims of retaliation and claims for attorneys’ fees which

                     relate to the payment of wages. Plaintiff also represents and certifies that he has

                     received full payment for all hours worked while employed by Defendants,

                     including minimum wage, overtime hours, bonuses, and vacation pay and that no

                     further payment for hours worked is due by Defendants, their parents, predecessors,

                     successors, assigns, subsidiaries, affiliates, and insurers, and their past, present, and

                     future directors, officers, shareholders, members, employees, agents, insurers and

                     attorneys, both individually and in their capacities as directors, officers,

                     shareholders, members, employees, agents, insurers, and attorneys.

     3. SETTLEMENT SUMMARY: In exchange for and in consideration of the Releases and

          promises of Plaintiff in this Agreement, Defendants agree to pay a total sum of SIXTEEN

          THOUSAND AND 00/100ths ($16,000.00). The payments will be tendered as follows:

                           1. Payment to MICHAEL KEEVER in the gross amount of $5,000.00, as
                              taxable wages, less appropriate taxes and withholdings, to represent the
                              unpaid wages claim. An IRS Form W-2 will be issued to Plaintiff for this
                              amount. Plaintiff must provide a fully completed and executed IRS Form
                              W-4 to counsel for Defendants along with the executed Agreement; and

                           2. Payment to MICHAEL KEEVER in the gross and net amount of $5,000.00,
                              as liquidated damages. An IRS Form 1099 will be issued to Plaintiff for this
                              amount. Plaintiff must provide a fully completed and executed IRS Form
                              W-9 to counsel for Defendants along with the executed Agreement; and

                           3. Payment to TRAGOS, SARTES & TRAGOS, PLLC in the amount of
                              $6,000.00 representing attorneys’ fees and costs on behalf of MICHAEL
                              KEEVER for which separate IRS Forms 1099 shall issue to TRAGOS,
                              SARTES & TRAGOS, PLLC and MICHAEL KEEVER. TRAGOS,
                              SARTES & TRAGOS, PLLC must provide a fully completed and executed
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                                 IRS Form W-9 to counsel for Defendants along with the executed
                                 Agreement.

 Plaintiff is specifically aware of and agrees with, the number of attorneys’ fees and costs to be
               paid to Plaintiff’s counsel for representing his interests in this matter.

     a. The settlement sum will be delivered to Plaintiff’s counsel within ten (10) business days

          after all of the following events occur: (1) the Court’s approval of this Agreement; (2)

          dismissal with prejudice of Plaintiff’s claims in the Lawsuit; (3) Plaintiff’s delivery of IRS

          forms W-4 and W-9 to Defendants’ counsel, and (4) Plaintiff’s counsel’s delivery of a

          completed IRS form W-9 for Tragos, Sartes & Tragos, PLLC. to Defendants’ counsel.

     b. Plaintiff understands and acknowledges that the payments specified in this section would

          not be issued to Plaintiff except for Plaintiff’s execution of this Agreement, including the

          Release of FLSA claims contained herein, and Plaintiff’s fulfillment of the promises

          contained herein.

     c. Defendants make no representation as to the taxability of the amounts paid to Plaintiff.

          Plaintiff agrees to pay federal or state taxes, if any, which are required by law to be paid

          with respect to this settlement. Moreover, Plaintiff agrees to indemnify Defendants and

          hold them harmless from any interest, taxes or penalties assessed against it by any

          governmental agency as a result of the non-payment of taxes on any amounts paid to

          Plaintiff or Plaintiff’s attorney under the terms of this Agreement.

     4. AFFIRMATIONS. Plaintiff affirms that upon payment of the amounts set forth herein,

Plaintiff will have been paid and/or will have received all overtime compensation, liquidated

damages related to overtime compensation, and attorney’s fees and costs in connection with

Plaintiff’s claims under the FLSA regarding Releasees up to the date of this Agreement.




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     5. NO ADMISSION. Neither this Agreement nor the furnishing of the considerations for this

Agreement shall be deemed or construed at any time for any purpose as an admission by the

Releasees of any liability, unlawful conduct of any kind or violation by the Releasees of the FLSA.

     6. OPPORTUNITY TO REVIEW. Plaintiff acknowledges that Plaintiff is aware that Plaintiff

is giving up all FLSA claims Plaintiff may have against the Releasees. Plaintiff acknowledges that

Plaintiff has been advised in writing to consult with an attorney and has had the opportunity to

seek legal advice before executing this Agreement. Plaintiff signs this Agreement voluntarily. The

Parties agree and acknowledge that this Agreement was drafted by all Parties and their counsel.

The language of this Agreement shall be construed as a whole, according to its fair meaning, and

not strictly for or against either Party.

     7. SEVERABILITY. Except as set forth below, should any provision of this Agreement be

declared illegal or unenforceable by any court of competent jurisdiction, such that it cannot be

modified to be enforceable, excluding the release language, such provision shall immediately

become null and void, leaving the remainder of this Agreement in full force and effect.

     8. VENUE AND GOVERNING LAW. This Agreement shall be governed by the laws of the

State of Florida without regard to its conflict of laws provision. In the event of any action arising

hereunder, venue shall be proper in the United States District Court in and for the Middle District

of Florida.

     9. ENTIRE AGREEMENT. This Agreement sets forth the entire agreement between Plaintiff

and Defendants as to settlement of the Plaintiff’s FLSA claims asserted in this case. Plaintiff

acknowledges that Plaintiff has not relied on any representations, promises, or agreements of any

kind made to Plaintiff in connection with the decision to sign this Agreement, except those set

forth in this Agreement.


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     10. EXECUTION IN COUNTERPARTS. This Agreement may be executed in any number of

counterparts, each of which shall be considered an original. All the counterparts together shall

constitute one and the same instrument.

   11. THE SIGNATORIES HAVE CAREFULLY READ THIS ENTIRE SETTLEMENT

AGREEMENT AND RELEASE OF FLSA CLAIMS. THE PARTIES HAVE BEEN

REPRESENTED BY COUNSEL THROUGHOUT THE NEGOTIATION OF THIS

AGREEMENT AND HAVE CONSULTED WITH THEIR ATTORNEYS BEFORE SIGNING

THIS AGREEMENT. THIS PARTIES FULLY UNDERSTAND THE FINAL AND BINDING

EFFECT OF THIS AGREEMENT. THE ONLY PROMISES OR REPRESENTATIONS MADE

TO ANY SIGNATORY ABOUT THIS AGREEMENT ARE CONTAINED IN THIS

AGREEMENT.

          HAVING ELECTED TO EXECUTE THIS SETTLEMENT AGREEMENT AND

RELEASE OF FLSA CLAIMS, TO FULFILL THE PROMISES SET FORTH HEREIN, AND

TO RECEIVE THEREBY THE SETTLEMENT SUM AND BENEFITS SET FORTH IN

PARAGRAPH 3 ABOVE, PLAINTIFF FREELY AND KNOWINGLY AND AFTER DUE

CONSIDERATION, ENTERS INTO THIS SETTLEMENT AGREEMENT AND RELEASE OF

FLSA CLAIMS INTENDING TO WAIVE, SETTLE AND RELEASE THE FLSA CLAIMS

PLAINTIFF HAS OR MIGHT HAVE AGAINST RELEASEES.

          THE PARTIES ARE SIGNING THIS AGREEMENT VOLUNTARILY AND

KNOWINGLY.

                                       [SIGNATURES ON FOLLOWING PAGE]




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        2020-03-12
Dated: _________________________                                             BELLE VISTA BLUFFS, INC.



                                                                           Sign:                                            Beverly Mackin



                                                                           Name: Beverly C. Mackin


                                                                           Title: President




_____________________________________                                          2020-03-12
                            Beverly Mackin
Beverly C. Mackin                                                             Date




Michael Keever                                                                Date




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Dated: _________________________                     BELLE VISTA BLUFFS, INC.



                                                    Sign:


                                                    Name: Beverly C. Mackin


                                                    Title: President




_____________________________________
Beverly C. Mackin                                     Date


                                                      03/12/2020

Michael Keever                                        Date




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